              Case 4:21-cv-00113-LCK Document 10 Filed 06/14/21 Page 1 of 2



     McNAMARA LAW FIRM, PLLC
1    1670 East River Road, Suite 200
     Tucson, Arizona 85718
2    (520) 624-0126
     (520) 624-9238 – FAX
3
     Michael F. McNamara, PCC 37860; SBN 011277
4    E-mail: mfm@mgm-legal.com
     Attorneys for Plaintiff
5

6                          IN THE UNITED STATES DISTRICT COURT
7                           IN AND FOR THE DISTRICT OF ARIZONA
8
     Marco A. Dagnino, Jr., a single man,     )        NO. CV-21-00113-TUC-LCK
9
                                              )
                                              )
                                              )
10               Plaintiff,                   )
                                              )
11   v.                                       )
12
                                              )            NOTICE OF VOLUNTARY
                                              )                 DISMISSAL
13   United States of America, a governmental )
     entity,                                  )
14
                                              )
                                              )
15               Defendant.                   )
                                              )
16
                                              )
                                              )
17
                                              )
18          Plaintiff, through counsel undersigned, pursuant to Rule 41(a)(1)A(i), Arizona Rules
19
     of Civil Procedure, hereby dismisses the aforementioned case as to the Defendant, with
20

21   prejudice, each party to bear its own costs and attorney’s fees.
22
            DATED this 14th day of June, 2021.
23
                                                 McNAMARA LAW FIRM, PLLC
24

25                                               By: /s/ Michael F. McNamara               .
                                                     Michael F. McNamara
26
                                                     Attorney for Plaintiff
27

28




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             Case 4:21-cv-00113-LCK Document 10 Filed 06/14/21 Page 2 of 2




1
     The foregoing document electronically filed with the U.S. District Court, District
     of Arizona, this 14th day of June, 2021.
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